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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

GALVESTON DIVISION
JAMES MCINGVALE §
§
V. § CIVIL ACTION NO. G-06-587
§
ROBERT A. BAFFERT, et ai. §
§

ORDER

On the 30th day of April, 2007, the parties announced a complete settlement of all
controversies herein existing. It is accordingly

ORDERED, ADJUDGED and DECREED that this cause is hereby
ADMINISTRATIVELY CLOSED for a period of 30 days. As permitted by the Supreme Court
and the Fifth Circuit, the Court expressly retains jurisdiction over the settlement of this case for
the stated period of administrative closure. See Kokkonen v. Guardian Life Insurance Co., 511
U.S. 375, 114. Ct. 1673, 128 L. Ed. 2d 391 (1994); Hospitality House, Inc. v. Gilbert, 298 F.3d
424, 430 (Sth Cir. 2002). Either side may move to re-open within such time, for good cause shown.

IT IS SO ORDERED.

DONE at Galveston, Texas this the A a of May, 2007.

   

5. LB. KENT
UNITED STATES DISTRICT JUDGE
